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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

TANGELO IP, LLC                                   )
                                                  )
              Plaintiff,                          )
                                                  ) Civil Action No. _______________
v.                                                )
                                                  ) JURY TRIAL DEMANDED
FTD COMPANIES, INC.                               )
                                                  )
              Defendant.                          )
                                                  )

                  PLAINTIFF'S RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Tangelo IP, LLC states it has no

parent corporation but its closest corporate relative is Tangelo, LLC, and no publicly held

corporation owns more 10% or more of the stock of Tangelo, LLC or Tangelo IP, LLC.


Dated: November 9, 2017              STAMOULIS & WEINBLATT LLC

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